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 Fill in this information to identify your case:
     Debtor 1              David                Salinas                Soliz
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Leticia                                     Soliz                                    An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           18-32725-H5-13
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Business Owner                                     Business Owner
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Apple Maids                                        Apple Maids

      Occupation may include            Employer's address     16 Foster Court                                    16 Foster Court
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Sugar Land                   TX      77479         Sugar Land             TX      77479
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        4 years                                           4 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        David Salinas Soliz
Debtor 2        Leticia Soliz                                                                                                         Case number (if known)    18-32725-H5-13
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $5,607.87                    $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $5,607.87                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $5,607.87 +             $0.00 =                                                        $5,607.87
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $5,607.87
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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Debtor 1     David Salinas Soliz
Debtor 2     Leticia Soliz                                                     Case number (if known)   18-32725-H5-13
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor is currently looking for work. Debtor will amend his Schedule I if/when employment is
        Yes. Explain: obtained.




Official Form 106I                                Schedule I: Your Income                                            page 3
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Debtor 1     David Salinas Soliz
Debtor 2     Leticia Soliz                                             Case number (if known)   18-32725-H5-13

8a. Attached Statement (Debtor 1)

                                              Business Income

Gross Monthly Income:                                                                                     $8,657.87

Expense                                        Category                               Amount

Payroll                                        Payroll                             $2,200.00
Utilities                                      Utilities                            $200.00
Supplies                                       Supplies                             $300.00
Maintenance                                    Maintenance                          $100.00
Vehicle Expense                                Expense                              $100.00
Entertainment                                  Expense                                $50.00
Insurance                                      Insurance                            $100.00
Total Monthly Expenses                                                                                    $3,050.00
Net Monthly Income:                                                                                       $5,607.87




Official Form 106I                           Schedule I: Your Income                                         page 4
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              David                  Salinas                Soliz                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Leticia                                       Soliz
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           18-32725-H5-13
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Child                               22
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $250.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $100.00

      4d. Homeowner's association or condominium dues                                                                4d.                    $112.00



 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      David Salinas Soliz
Debtor 2      Leticia Soliz                                                                 Case number (if known)     18-32725-H5-13
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                            (See continuation sheet(s) for details) 6a.                   $390.00
     6b. Water, sewer, garbage collection                                                                  6b.                   $100.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                   $550.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                    $675.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                    $150.00
10. Personal care products and services                                                                    10.                   $120.00
11. Medical and dental expenses                                                                            11.                   $350.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                   $450.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                   $50.00
     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                  $400.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: IRS withholding                                                                               16.                   $422.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                        Schedule J: Your Expenses                                                page 2
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Debtor 1      David Salinas Soliz
Debtor 2      Leticia Soliz                                                                    Case number (if known)   18-32725-H5-13
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Toll Road                                                                                21.    +              $25.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $4,244.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $4,244.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $5,607.87
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $4,244.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               $1,363.87

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtors to sell home by March 31, 2019. Debtors will use net proceeds to purchase another home. Will have
                expenses for property taxes, insurance, HOA fees. Debtor will amend his Schedule J to disclose these new
                expenses when they are actualized.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
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Debtor 1     David Salinas Soliz
Debtor 2     Leticia Soliz                                                            Case number (if known)   18-32725-H5-13


6a. Electricity, heat, natural gas (details):
     Electricity                                                                                                         $350.00
     Natural Gas                                                                                                          $40.00

                                                                                            Total:                       $390.00


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Cable/Internet                                                                                                      $250.00
     Cell Phone (3 phones)                                                                                               $300.00

                                                                                            Total:                       $550.00


12. Transportation (details):
     Gasoline                                                                                                            $400.00
     Auto Maintenance/Repairs/Tuneups                                                                                     $50.00

                                                                                            Total:                       $450.00




 Official Form 106J                                       Schedule J: Your Expenses                                         page 4
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 Fill in this information to identify your case:
 Debtor 1           David               Salinas              Soliz
                    First Name          Middle Name          Last Name

 Debtor 2            Leticia                                 Soliz
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        18-32725-H5-13
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ David Salinas Soliz                              X /s/ Leticia Soliz
        David Salinas Soliz, Debtor 1                         Leticia Soliz, Debtor 2

        Date 12/11/2018                                       Date 12/11/2018
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
